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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY
                                        CAMDEN VICINAGE


        IN RE: BENICAR (OLMESARTAN)
        PRODUCTS LIABILITY
        LITIGATION                                               MDL No. 15-2606(RBK/JS)



                                   MEMORANDUM OPINION AND ORDER

              This Opinion addresses the only objection the Court received

  regarding the “Final [Allocation] Recommendation of the Benicar

  Common Benefit Committee.” (Hereinafter “FR”). Oral argument is

  not necessary.               Fed.R.Civ.P.78; L.Civ.R.78.1. For the reasons to

  be discussed, the objections of Gerald J. Williams, Esquire and

  Mark R. Cuker, Esquire, are OVERRULED. (Hereinafter Williams and

  Cuker will be collectively referred to as “WC”). 1                                The Court finds

  WC’s allocation is fair, reasonable and equitable, and in accord

  with the Court Ordered directions given the Benicar Common Benefit

  Committee (“CBC”).

  Background

            This      litigation          concerns         the     blood       pressure   medication

  Olmesartan, sold by defendant Daichi Sankyo under the name Benicar,

  as well as Benicar HCT, Azor, and Tribenzor.                                   Plaintiffs allege

  ingestion of Benicar causes sprue-like enteropathy and Benicar




  1
      For present purposes, the abbreviations “WC” and “WCB” are synonymous.
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  induced enteropathy which results in symptoms similar to celiac

  disease and other complications.

        After the JPML assigned this MDL to the Honorable Robert B.

  Kugler,    the   matter   proceeded       expeditiously    to   an   eventual

  settlement. The first case management conference was held on April

  29,   2015.      Thereafter,    members    of   plaintiffs’     Steering   and

  Executive Committees were appointed (May 20, 2015 Order, Doc. No.

  18) and an Order regarding plaintiffs’ counsels’ “Time and Expense

  Reporting of Common Benefit Fees and Related Costs” was entered.

  [May 22, 2015 Order CMO No. 3, Doc. No. 21].              Over the course of

  the next 1½ - 2 years, the parties vigorously, yet professionally,

  litigated the case, including taking and defending scores of

  depositions and arguing numerous discovery disputes.                 Tens of

  millions of electronic documents were produced in discovery.

        In or about the summer of 2017, the parties reached an

  agreement in principle to settle.         The settlement was announced in

  court on August 1, 2017.       The settlement covers approximately 2000

  filed cases and thousands of claimants.          Due to the complexity of

  the settlement, and the need to allocate the agreed upon settlement

  sum, the settlement is not yet finalized. However, the Court is

  hopeful everything will be “wrapped up” before the end of the year.

        Now that the participants in the settlement process will soon

  be paid, it is time to turn to plaintiffs’ attorneys’ claim for




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  common benefit fees and costs. 2                        The Court’s Orders set forth the

  approval process. 3               On February 26 and 27, 2019, CMO Nos. 41 and

  41A appointed the members of the Common Benefit Committee (“CBC”)

  and     generally          described          the      role      of     the      CBC.          To     assure

  transparency, objectivity and fairness, the Court made sure the

  CBC included a representative group of plaintiffs’ attorneys and

  not just those with leadership positions and substantial common

  benefit claims.             The Court specifically made sure the CBC included

  at least one member who was not making a claim for benefits.                                               The

  CBC’s Preliminary Recommendation was issued on June 13, 2019.

  After WC obtained leave of Court to serve a late objection, WC

  objected to the Preliminary Recommendation.                                       After considering

  WC’s objection, the CBC’s Final Recommendation (“FR”) was issued.

  WC then filed its objections which are now before the Court.

  (Hereinafter “objections”).                          This Opinion only addresses WC’s

  objections.           Judge Kugler will decide whether to approve the CBC’s

  Final Recommendation.

          As to WC, the Preliminary Allocation awarded it $100,000 for

  1125 submitted hours which resulted in an effective hourly rate of

  $89.00.         After WC’s objection to the Preliminary Allocation was

  considered, the CBC reduced WC’s common benefit hours to 1066 but

  increased its award to $110,000.                             This resulted in an effective



  2
    CMO 41B provides, “[n]o Common Benefit award and allocation shall be paid or distributed prior to the payments
  to the participants in the ongoing Settlement Process.” Id. ¶11.
  3
    Fees and costs are addressed in the allocation. WC’s objections only concern its allocated fee.
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  hourly rate of $103.00. 4 WC complains the allocated sum and billing

  rate are too low compared to comparator firms. WC asks the Court

  to increase its billing rate to $272.00 per hour which results in

  an award of $290,000.

  Discussion

             The first issue the Court needs to address is the standard of

  review to apply to WC’s objections.                                    In order to get to the crux

  of the matter sooner rather than later, and to avoid arguments not

  directly related to the merits of WC’s objections, for present

  purposes only the Court will accept WC’s position that the Court

  should review the CBC’s Final Recommendation de novo.                                           CMO No 41B

  provides,            “[t]he        CBC      shall        perform         a    fair,   equitable,       and

  transparent evaluation of each CB Request[.]” Id.                                         ¶3.   The Court

  will         undertake           to     examine         if      this         was   done    as     to   WC.5

             Preliminarily, the Court notes that a pure lodestar analysis

  cannot be done.                  CMO 41B recognized this fact: “[w]hile time and

  expense records will be considered, the CBC and the Court recognize

  that a simple lodestar analysis is not practical or feasible, and

  that not all tasks are of equal value[.]” Id. ¶9.                                         Further, it is

  universally recognized that when it comes to the allocation of

  common benefit funds, “not all types of work are created equal.”

  Haas v. Burlington County, C.A. No. 08-1102 (NLH/JS), 2019 WL




  4
      WC does not object to the reduction of its common benefit hours.
  5
      WC does not argue its allocation was not transparent.
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  4648569, at *5 (D.N.J. Sept. 3, 2019)(citation and quotation

  omitted).

        WC’s objections are premised on its belief that it was treated

  significantly less favorably than similarly situated firms.                      The

  Court disagrees and finds that WC was treated fairly and equitably.

  For this reason, the Court overrules WC’s objections.

        WC’s dispute primarily relates to its argument that the

  billing rate awarded for its document review work is too low.                   WC’s

  argument, however, is based on the erroneous premise that its final

  assessment was grounded on the fact it only paid $80,000 of its

  $105,000 common benefit assessment. “The Committee’s justification

  for [its] disparate award is that WCB paid only $80,000 of a

  $105,000 assessment.”        Objections at 2. WC is wrong.                As set out

  in detail in the CBC’s Final Recommendation, the CBC considered

  the totality of the circumstance in its assessment.                         The CBC

  concluded that the type of work done by WC, the importance of the

  work,   and    the   quality    of   the       work   were   the   most    important

  allocation factors.        Accord Haas, 2019 WL 4648569, at *5.              This is

  evidenced by the fact the CBC concluded that the work done by firms

  other   than    WC   was   of   a    “higher      level[]    of    complexity    and

  importance.”     FR at 32.      In addition to evaluating the complexity

  and importance of WC’s work, the CBC also considered the fact that

  “numerous [WC] entries … were not for the common benefit.”                       Id.

  The CBC also considered the fact that a significant number of WC’s

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  hours were spent reviewing documents in preparation for a “minor

  witness.” 6           Id.       Thus, WC’s argument that its allocated billing

  rate was only based on its delinquent payment is wrong.                                                           In

  addition, the Court disagrees with WC’s assertion that, “[t]he

  recommended             fee      allocation            to      WCB       is     a     glaring          outlier,

  inconsistent with the award to other firms and irreconcilable with

  any purported methodology used.”                                   Objections at 1.                     A close

  comparison to other firms shows that WC was treated fairly and

  equitably.

           WC’s argument that it was treated unfairly is refuted when it

  is compared to comparator firms, Pearson and Taylor Martino. These

  two firms also did not pay their full assessments.                                               Pearson was

  only awarded an hourly rate of $51.81, half of WC’s rate, and did

  not object to its allocation.                             Although the hourly rate for the

  Taylor Martino firm is $132.00, approximately 20% higher than WC,

  this is justified because the firm “devoted significant time to

  the work-up of bellwether cases selected by the Court.”                                                  Id.      As

  to WC, the CBC’s analysis was consistent with CMO 41B which

  required the CBC to “prioritize the most important work that

  advanced and drove the litigation, and set the groundwork for

  resolution.”             Id. ¶9.



  6
   The Court agrees it is appropriate to examine the importance of the documents an attorney reviews when
  considering the hourly rate to award. This is relevant to evaluating the firm’s contribution to the successful outcome
  of the case. The Court also agrees with the CBC’s apparent conclusion that more weight should be given to
  documents reviewed for witnesses who ultimately turn out to be important to plaintiffs’ case.

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         Although not discussed in detail in the FR, the Court agrees

  with the notion that WC’s failure to fully pay its assessment

  should be an important allocation factor. The Court agrees with

  the CBC’s statement that, “[t]he obligation to pay assessments to

  fund    the   litigation   [is]   critical   to   the   advancement   of   the

  litigation[.]” FR at 31-32.        CMO No. 3 recognized the importance

  of common benefit assessments: “[t]he Court … acknowledges that

  reasonable common benefit time and expenses are necessary for the

  collective prosecution of all cases in this MDL litigation.”               Id.

  at 1.    CMO No. 3 also notes, “[t]he recovery of compensation for

  common benefit time expended and cost reimbursement will be allowed

  and is essential in this MDL litigation.”               Id. at 2 (emphasis

  added). The fact that WC may have been “penalized” because it did

  not fully pay its assessment should not be a surprise to WC.               CMO

  No. 3 provides that the, “[f]ailure to timely submit any assessment

  to the PEC by a Participating Counsel will be grounds for the

  denial and/or partial denial of attorneys’ fees awarded in the

  case and/or removal from the PEC/PSC.”             Id. at 2.     This is a

  recognition that unless common benefit assessments are fully and

  timely paid, the MDL cannot be effectively managed and litigated.

         The Court disagrees with WC’s argument that the “penalty” for

  WC’s non-payment must necessarily be proportional to the payment

  shortfall.      If there was a rule of proportionality, firms could

  make a strategic or economic decision to accept a penalty rather

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  than pay an assessment in full.             It is critical to the effective

  management and progress of an MDL that participating firms timely

  and fully pay their assessments.              In order to assure the smooth

  management of an MDL, every reasonable step should be taken to

  incentivize firms to timely and fully pay their assessments.                    If

  this means treating firms harshly in the short term as a trade-

  off for a long-term benefit, so be it.              The CBC, not the Court, is

  in the best position to evaluate the “penalty” to be assessed for

  delinquent payments.        After all, the CBC, not the Court, has

  intimate knowledge regarding the impact a monetary shortfall has

  on the progress of the case.         After reviewing all relevant papers,

  the Court does not find that any alleged “penalty” to WC because

  of its delinquent payment was unreasonable or, as WC argues, “was

  greatly     disproportionate    to     WCB’s       shortfall    in   paying   cost

  assessments.”     Objections at 12.

        The    unreasonableness     of        WC’s    suggested    allocation     is

  evidenced by comparing WC’s work to other firms who were awarded

  rates less than WC’s request for $272 per hour.                A glaring example

  is the Robins Kaplan (“RK”) firm which was awarded $248 per hour.

  Rather than just reviewing documents, RK was a leader in this MDL.

  Tara Sutton, Esquire, was on the plaintiffs’ Executive Committee

  and Chaired the Science and Expert Committee. Ms. Sutton actively

  and   effectively    participated       in     numerous    court     conferences,

  arguments, and settlement sessions.                Ms. Sutton’s stellar work

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  putting together plaintiffs’ expert case was critical to the

  successful      resolution     of     the    MDL.     In    addition,    another      RK

  attorney, Rayna Kessler, Esquire, served as liaison counsel in the

  New   Jersey    State    Court      litigation      and     Federal/State      Liaison

  Counsel   for    the    MDL.     FR    at     25.   Ms.    Kessler’s    work   made   a

  significant contribution to the effective and efficient management

  and progress of the MDL. By no means does the Court intend to

  diminish the work done by WC.               However, it would be inequitable to

  award WC its requested fee of $272 while RK’s fee is capped at

  $248. The CBC’s allocation to WC was consistent with the mandate

  of CMO No. 41 which provides that, “[t]he CBC’s allocation shall

  prioritize the most important work that advanced and drove the

  litigation and set the groundwork for resolution.”                     Id. ¶9.

        Another illustrative example is the Lieff Cabraser (“LC”)

  firm.     They were awarded an hourly rate of $259 per hour even

  though its attorneys included a Co-Chair of the Science Committee.

  In addition, the lawyers in the firm were invaluable to preparing

  plaintiffs’ expert reports and attending and defending expert

  depositions.      FR at 17.         Similar to the Robins Kaplan firm, it

  would be inequitable to grant WC its requested hourly rate of $272

  when LC is capped at $259.

        As to the other specific arguments made by WC, they will be

  briefly addressed.       WC argues its effective hourly rate of $103.00

  “was less than half the average rate awarded to other firms

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   primarily performing document reviews.” Objections at 1. However,

   the summary of work done, as set forth in the Final Recommendation,

   shows that each of the alleged comparator firms did important

   substantive work besides reviewing documents: (1) Johnson Becker

   (member of plaintiffs’ Steering and Discovery Committees, worked

   on lists of custodians and deponents, and prepared discovery

   requests); (2) Lieff Cabraser (conducted expert document review,

   Co-Chair of Science Committee, assisted with preparation of expert

   reports    and    deposition    preparation,         defended      depositions,       and

   deposed    one    witness);     (3)    Rhine      Law    Firm    (attended    Steering

   Committee calls and meetings); (4) Sanders Law Firm (engaged in

   ESI   management     at   the   highest         level,   member     of   Steering     and

   Bellwether Committees, significant involvement in the day-to-day

   activities of the litigation, conducted research on third-parties,

   drafted subpoenas, assisted with privilege challenges, managed

   deposition       calendar,    and     prepared      deposition      summaries);       (5)

   Taylor    Martino    (assisted      with    workup       of     bellwether    case    and

   attended Steering Committee calls and meetings); and (6) Wagstaff

   Cartmell    (conducted       expert     related      activities      and     member    of

   Steering, Science and Expert Committees).

         WC complains about the billing rates allocated to contract

   attorneys. However, there is no controlling case law that requires

   contract attorneys be treated differently than other attorneys. As

   with the entire allocation, the CBC, not the Court, is in the best

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   position         to     evaluate           the     common        benefit         contract          attorneys

   contributed to the case. This is an inherently subjective judgment

   that is not likely to meet everyone’s evaluation about how they

   should be treated.                That being said, it is apparent the CBC did an

   unbiased         evaluation           of    all      relevant         evidence         and      prepared          a

   detailed report summarizing its judgment. 7                                    The        Court         agrees

   with the CBC’s judgment on how to treat contract attorneys absent

   material unfair disparities or treatment, which did not occur here.

   Depending on the facts of a particular case, contract attorneys

   may be treated better, worse or the same as other attorneys.                                                “The

   allocation of fees is not an exact science, and the methodology

   used may vary, so long as it is designed to produce results that

   are both fair and reasonable.”                              In Re C.R. Bard, Inc., Pelvic

   Repair System Products Liability Litigation (“Pelvic Mesh”), MDL

   No. 2187, et al., 2019 WL 4458579, at *15 (W.D.Va. March 12, 2019).

           The      Court        disagrees          with       WC’s      argument          that       full-time

   attorneys must necessarily be awarded a higher billing rate than

   contract attorneys.                  Objections at 9.                 The Court is reluctant to

   adopt a hard and fast rule about how contract attorneys should be

   treated.          Hours spent on the same task by similarly skilled or

   experienced lawyers may or may not be of equivalent value.                                              Pelvic

   Mesh, at *14 (citation and quotation omitted).                                        The CBC, not the

   Court, has firsthand knowledge of the common benefit conferred by

   7
     Although not specifically addressed in the FR, the same detailed information available to WC had to have been
   reviewed by the CBC.
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   different firms and attorneys, and is in the best position to

   evaluate the relative importance and contribution to the common

   benefit.        As noted in In re Vioxx Products Liability Litigation,

   802 F.Supp.2d 740, 774 (E.D.La.2011), “in the real and imperfect

   world of litigation it is an accepted fact that not all work hours

   are entitled to the same compensation rate.                                  The nature of the

   work, the skill and experience of the party doing the work, and

   the result achieved all factor into the appropriate allocation.”

   The Court finds that WC was treated fairly and equitably in

   comparison to other firms and attorneys.

           Last, WC takes issue with the CBC’s criticism of the tasks

   done by its paralegals and the number of hours devoted to a

   document review for a minor witness.                           Objections at 17-19.                 This

   criticism is ironic in view of WC’s position that the CBC focused

   too much on its delinquent payment.                         In any event, the Court finds

   the CBC’s comments are well taken. 8

   Conclusion

           In conclusion, the Court finds WC’s objections are ill-

   founded and, therefore, are overruled.                             While the CBC’s work was

   necessarily subjective, as to WC, the CBC’s allocation is fair,

   reasonable and equitable.                     WC’s allocation was rightly based on

   the     CBC’s        collective          consideration             and      judgment         of     WC’s

   contribution to the common benefit.                            The fact that WC disagrees

   8
     WC argues a lodestar cross check should be done. Objections at 5. However, WC ignores CMO No. 41B which
   recognizes this “is not practical or feasible.” CMO 41B ¶9.
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   with   the    CBC’s   judgment   is    not    sufficient   to   change   WC’s

   allocation.

                                         ORDER

          Accordingly, for all the foregoing reasons, it is hereby

   Ordered this 5th day of November, 2019, that the objections of

   Gerald L. Williams, Esquire and Mark R. Cuker, Esquire, to the

   “Final [Allocation] Recommendation of the Benicar Common Benefit

   Committee,” are OVERRULED.

                                         s/Joel Schneider
                                         JOEL SCHNEIDER
                                         United States Magistrate Judge




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